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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

KELVIN LEON JONES, et al.,

              Plaintiffs,

v.                                                Case No. 4:19-cv-300-RH/MJF

RON DeSANTIS, et al.,

              Defendants.
                                                  /

          STATE DEFENDANTS’ NOTICE OF FILING EXHIBITS
          TO BE USED WITH STATE DEFENDANTS’ WITNESSES

        This Court’s April 2, 2020 Order on Trial Procedures provides that “the party

who intends to call a witness must file a notice listing each exhibit the party intends

to use with the witness.” ECF No. 317 at 2. Consistent with the Order, Governor

Ron DeSantis and Secretary of State Laurel M. Lee (“State Defendants”) note that

they intend to use the following exhibits with the witnesses listed below:

     1. Maria Matthews: Defendants’ Exhibits 3-4, 9-12, 15-16, 17A-17N, 18-20,

        27, 53-56, 142-144, and 167-170.

     2. Michael Barber, Ph. D.: Defendants’ Exhibits 9, 13-15, 17O-17P, 20-22, 26,

        28, 29-43, 58-67, and 146.

     3. Mary Adkins: Defendants’ Exhibits 9, 20, and 145.

     4. Desmond Meade: Defendants Exhibits’ 1-2, 29-43, and 132.


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   It is State Defendants’ understanding that the Parties will jointly move to

introduce into the record all exhibits for which there is no objection into evidence at

the beginning of trial. As such, State Defendants have not listed a witness with each

exhibit that may be considered by the Court on the merits.

      Respectfully submitted this 20th day of April, 2020,

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                                              /s/ Tara R. Price
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served

to all counsel of record via email on April 20, 2020.

                                                      /s/ Tara R. Price
                                                      Attorney




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